             Case 3:05-cr-05504-RJB      Document 118       Filed 11/30/05     Page 1 of 2



 1                                                          JUDGE FRANKLIN D. BURGESS
 2

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 6                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 7                                     AT TACOMA
 8
     UNITED STATES OF AMERICA,                   )     NO. 05-5504FDB
 9                                               )
                    Plaintiff,                   )
10                                               )     ORDER GRANTING STIPULATED
                    vs.                          )     MOTION TO CONTINUE TRIAL
11                                               )     DATE
     WALTER BOYD McILWAIN,                       )
12 et al.,                                       )
                                                 )
13                  Defendants.                  )
14

15           Upon the stipulation of the parties to continue the trial date in the above-
16 captioned case, the Court finds that the ends of justice will be served by ordering a

17 continuance in the case, that continuing the trial date is necessary in order to allow the

18 parties to conduct plea negotiations and to allow defense counsel adequate time to

19 investigate and to effectively prepare for trial, and that these factors outweigh the best

20 interests of the public and the defendant in a more speedy trial; within the meaning of 18

21 U.S.C. §3161(h)(8)(A), therefore,

22           IT IS HEREBY ORDERED that the trial date be continued to March 13, 2006.
23 The period of delay resulting from this continuance from January 6, 2006 up to and

24 including the new trial date of March 13, 2006 is hereby excluded for speedy trial

25 purposes under 18 U.S.C. §3161(h)(8)(A) and (B)

26 //

                                                                           FEDERAL PUBLIC DEFENDER
                                                                                         1331 Broadway, Ste. 400
     ORDER GRANTING STIPULATED MOTION                                                Tacoma, Washington 98402
     TO CONTINUE TRIAL DATE                           1                                          (253) 593-6710
          Case 3:05-cr-05504-RJB    Document 118        Filed 11/30/05   Page 2 of 2



 1 //

 2         IT IS FURTHER ORDERED that the motion cutoff date in this matter shall be
 3 continued to January 9, 2006.

 4         DONE this 30th day of November, 2005.
 5

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                                           A
 7

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 9
                                           FRANKLIN D. BURGESS
10                                         UNITED STATES DISTRICT JUDGE
11

12 Presented By:

13

14

15
     /s/________________________________            /s/_____________________________
16
     Linda R. Sullivan                              Gregory Gruber
17
     Attorney for Defendant                         Assistant United States Attorney
18

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                                                                     FEDERAL PUBLIC DEFENDER
                                                                                   1331 Broadway, Ste. 400
     ORDER GRANTING STIPULATED MOTION                                          Tacoma, Washington 98402
     TO CONTINUE TRIAL DATE                     2                                          (253) 593-6710
